                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

CHRISTIE ANDREWS,

         Plaintiff,                                Civil No. 3:21-cv-00526
                                                   Judge Eli J. Richardson
v.                                                 Magistrate Judge Jefferey S. Frensley

TRI STAR SPORTS AND
ENTERTAINMENT GROUP, INC.

         Defendant.


                                   PLAINTIFF’S FIRST SET OF
                                  REQUESTS FOR PRODUCTION

        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiff requests that

Defendant produce the documents within thirty (30) days after service of these requests.

                              I NSTRUCTI ONS     AND   D EFI NTI ONS

A. Rule 26 Requirements. These requests are subject to Fed. R. Civ. P. 26(b)(5) regarding
   assertions of privilege, Fed. R. Civ. P. 26(e) regarding supplementation, and Fed. R. Civ. P.
   26(g) regarding certification of responses.

B. Rule 34 Requirements. These requests are subject to Fed. R. Civ. P. 34(b)(2) regarding
   answers and objections. Please note that you “must produce documents as they are kept in the
   usual course of business or must organize and label them to correspond to the categories in
   the request.” Fed. R. Civ. P. 34(b)(2)(E)(i). Supplementation by organization will be
   requested for any responsive documents produced in a manner that does not comply with
   Rule 34(b)(2)(E)(i).

C. Avoidance of disputes and delays. If you believe that a request is confusing, vague, or
   ambiguous, please apply a reasonable construction to the request and respond accordingly.
   You may specify your construction of the request in the written portion of your response.
   Alternatively, you may contact counsel for clarification prior to serving your response.

D. Withholding. If you contend that you are entitled to withhold from production any or all
   documents requested herein on the basis of the attorney/client privilege, work-product
   doctrine or other grounds, identify the nature of the document(s), (e.g., letter or
   memorandum) the date for the same, the author, and the person to whom the document was
   addressed; identify each individual who has seen the document, each individual who has

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   received a copy of the document and from whom the document was received, and state the
   basis upon which you contend that you are entitled to withhold the document from
   production.

E. Partial Responses. If a partial or incomplete answer or production is provided, you must state
   the reason that the answer or production is partial or incomplete.

F. Relevant period. The “relevant period” means the period of time beginning five (5) years
   prior to the filing of Plaintiff’s original Complaint (ECF No. 1) through the Trial date shall
   be the time period applicable to each request unless otherwise stated.

G. “You,” “yours,” etc. The second person pronoun refers to Defendant its agents,
   representatives, and/or other persons acting or purporting to act on its behalf.

H. “Including.” The term “including” shall mean “including, but not limited to.” “Including”
   should not be read in a limiting sense.

I. “Relates to” means evidences, supports, constitutes, contains records, discusses, summarizes,
   analyzes, discloses, and/or refers to, in whole or in part.

J. “And” and “or” each shall be construed either conjunctively or disjunctively as necessary to
   bring within the scope of these interrogatories any information or document that might
   otherwise be construed to be outside its scope.

K. “Concerning.” The term “concerning” means referring to, describing, evidencing, or
   constituting.

L. “Document.” The terms “document” and “documents” are defined to be synonymous in
   meaning and equal in scope to the terms “documents” and “electronically stored information”
   as used in Fed. R. Civ. P. 34(a).

M. “Employment.” The term “Employment” shall mean hiring, work, occupation, profession,
   trade, job, or other form of rendering services in return for compensation, whether full or
   part-time, permanent or temporary, self-employed or in the employ of another individual or
   business entity.

N. “Person.” The unqualified term “Person” means an individual, corporation, firm, company,
   sole proprietorship, partnership, unincorporated association, or business association or
   governmental entity.

O. Plaintiff. The Term “Plaintiff” refers to Christie Andrews.

P. Form of production for documents that do not exist in electronic form. Documents that do not
   exist in a native electronic format or which require redaction of privileged content are
   requested to be produced in searchable portable document format (.PDF) with logical
   unitization preserved. Logical unitization entails that the document breaks and groupings

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   found in the original document format (e.g., paper documents) will be mirrored in the PDF
   production. For example, if the original documents consist of a stack of paper with various
   multipage documents stapled or paper-clipped together, then each stapled or paper-clipped
   document shall be produced as a separate PDF file. Accordingly, please do not produce
   numerous separate documents in a single PDF document.

Q. Medium of production. Productions smaller than 10GB should be made using DVD
   recordable optical media. Productions larger than 10GB but smaller than 128GB should be
   made using a flash/thumb drive or portable external hard drive. Productions larger than
   128GB should be made using a portable external hard drive.

R. Form of production for documents that exist in electronic form. Any documents that exist in
   electronic form are specifically requested to be produced in native or near-native formats,
   pursuant to Rule 34(b)(1)(C) of the Federal Rules of Civil Procedure and should not be
   converted to an imaged format (e.g. .TIFF or .PDF) unless such document must be redacted
   to remove privileged content or the document does not exist within your care, custody or
   control in a native electronic format. Native format requires production in the same format in
   which the information was customarily created, used, and stored by you. The table below
   supplies examples of the native or near-native forms in which specific types of electronically
   stored information (ESI) should be produced:

    SOURCE ESI                  NATIVE (OR NEAR-NATIVE) FORM(S) SOUGHT
    Microsoft Word              .DOC, .DOCX
    documents
    Microsoft Excel             .XLS, .XLSX
    Spreadsheets
    Microsoft PowerPoint        .PPT, .PPTX
    Presentations
    Microsoft Access            .MDB
    Databases
    WordPerfect documents       .WPD
    Adobe Acrobat               .PDF
    Documents
    Photographs                 .JPG
    E-mail                      Messages should be produced to preserve and supply the source
                                RFC 2822 content of the communication and attachments in a
                                fielded, electronically searchable format. For Microsoft
                                Exchange or Outlook messaging, .PST format will suffice.
                                Single message production formats like .MSG or .EML may be
                                furnished, if source folder data is preserved and produced. If
                                your workflow requires that attachments be extracted and
                                produced separately from transmitting messages, attachments
                                should be produced in their native forms with parent/child
                                relationships to the message and container(s) preserved and
                                produced.


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 Databases (excluding e-   Unless the entire contents of a database are responsive, extract
 mail systems)             responsive content to a fielded and electronically searchable
                           format preserving metadata values, keys, and field
                           relationships. If doing so is not feasible, please identify the
                           database and supply information concerning the schemas and
                           query language of the database, along with a detailed
                           description of its export capabilities, to enable Plaintiff to
                           develop a query sufficient to identify, extract, and export
                           responsive data.




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                   PLAINTIFF’S FIRST SET OF REQUESTS FOR ADMISSIONS

Request for Production No.      1

Produce all documents relating or concerning Plaintiff, Plaintiff’s employment and job
performance including her application, resume, offer letter, job description(s), personnel file,
performance review(s), counseling(s), coaching(s), warning(s), suspension(s), discipline(s),
termination, pay records, pay stubs, benefits, supervisor file, human resource file and medical
file.

Request for Production No.      2

Produce all communications regarding Plaintiff, Plaintiff’s employment, Plaintiff’s job
performance, including, but not limited to email communications by her immediate supervisor,
other members of management, human resources and privilege log for communications
involving legal counsel prior to Plaintiff’s termination.

Request for Production No.      3

Produce all communications to Plaintiff regarding Plaintiff’s employment, Plaintiff’s job
performance, Plaintiff’s termination, as well as post employment communications with
Plaintiff, concerning or relating to Plaintiff.

Request for Production No.      4

Produce all documents relating or concerning Defendant’s policies, procedures, practices
including but not limited to employee handbook, memorandums, amendments, e-mail updates
the Americans with Disabilities Act, COVID-19 reasonable accommodation, the interactive
process, equal employment opportunities during the period of Plaintiff’s tenure with Defendant.

Request for Production No.      5

Produce all documents Defendant used in providing Plaintiff, her direct supervisor and other
employees involved in the decision to terminate Plaintiff or eliminating her position training
regarding discrimination, retaliation, the Americans with Disabilities Act, the Family Medical
Leave, and equal employment opportunities, posted notices, training transcript, copies of
training materials (videos, print outs, handouts and computer modules).

Request for Production No.      6

Produce all documents Defendant consulted with respect to Plaintiff’s request for reasonable
accommodation.

Request for Production No.      7

Produce all documents concerning or relating to Defendant engaging in the interactive process
with Plaintiff.

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Request for Production No.       8

Produce all documents concerning or relating to Defendant considering or evaluating the costs
of making the accommodation Plaintiff requested, including estimates, quotes, and costs
projections.

Request for Production No.       9

Produce all documents concerning or relating to any reasonable accommodation Defendant
proposed to Plaintiff.

Request for Production No.       10

Produce all documents relating or concerning Defendant’s non-discriminatory business
justification for terminating Plaintiff and eliminating her position, including any
communications and information relied upon on by decision-makers, human resources and
legal counsel prior to communicating to Plaintiff she was terminated.

Request for Production No.       11

Produce all documents relating or concerning reports and complaints involving an allegation
disability discrimination or serious health condition, including but not limited failure to engage
in the interactive process, failure to provide reasonable accommodation, termination whether
made to Defendant, a third party designated by Defendant, or a state or federal agency. [For
example: charges of discrimination, notice of charge discrimination, Defendant’s
correspondence – position statements, rebuttal statements] The temporal scope of this request
starts 2 years prior to Plaintiff’s hiring through the date of trial.

Request for Production No.       12

For the person(s) Defendant claims made the decision(s) that led to Plaintiff’s employment
ending with Defendant produce all documents relating or concerning their employment and job
performance, including but not limited their application, resume, offer letter, job description(s),
personnel file, counseling(s), coaching(s), warning(s), suspension(s), discipline(s), termination,
supervisor file, human resource file. This request is not seeking financial account information
nor personal health information – that information may be redacted with black boxes.

Request for Production No.       13

Produce all documents relating or concerning eliminating the American Express Liaison
position, including but not limited to written job description, job postings, cost benefit analysis,
job studies, documents relied upon in the decision to eliminate position.




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Request for Production No.      14

Produce all documents relating or concerning persons holding a Team Coordinator position,
including but not limited to written job description, job postings, hiring and performance
reviews.

Request for Production No.      15

Produce all employment and job performance for Nola Douglas including her application,
resume, offer letter, job description(s), personnel file, performance review(s), counseling(s),
coaching(s), warning(s), suspension(s), discipline(s), termination, pay records, pay stubs,
benefits, supervisor file, human resource file. [Redact any financial account information,
personal health information].

Request for Production No.      16

Produce all documents relating or concerning Defendant’s determination that Plaintiff’s role
was one that could not be transitioned to a work from home model.

Request for Production No.      17

Produce the search results of all e-mails “From:,” “To:,” or “CC:” Yolanda Simpson between
March 1, 2020 and the date Defendant received notice of Plaintiff’s charge of discrimination
from the United States Equal Employment Opportunity Commission using the following search
terms independent of the other: “Christie,” “Andrews,” “Team Coordinator,” “Amex,” “work
from home” and “asthma.” [the search should include Yolanda’s Simpson all of the boxes,
including but not limited to “sent,” “received,” “deleted,” and “archived” mailboxes.

Request for Production No.      18

All documents conferred, consulted, reviewed, accessed in formulating each full or partial
denials to any of Plaintiff’s requests for admissions.

Request for Production No.      19

Produce the search results of all e-mails “From:,” “To:,” or “CC:” Lou Taylor between March
1, 2020 and the date Defendant received notice of Plaintiff’s charge of discrimination from the
United States Equal Employment Opportunity Commission using the following search terms
independent of the other: “Christie,” “Andrews,” “Team Coordinator,” “Amex,” “work from
home” and “asthma.” [the search should include Yolanda’s Simpson all of the boxes, including
but not limited to “sent,” “received,” “deleted,” and “archived” mailboxes.
Request for Production No. 19

Produce all documents related to Defendant’s CARES Act's Paycheck Protection Program that
were submitted in 2020, including but not limited to applications, signed certifications, letters
to and form the U.S. Government.



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                                   CERTIFICATE OF SERVICE

      I hereby certify that on Friday, October 29, 2021, I electronically served the foregoing
PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION via e-mail:


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